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November 3, 2020

BY ECF
Hon. Lorna G. Schofield
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

Re:       Erdman v. Victor et al., 20-CV-04162-LGS

Dear Judge Schofield:

This firm represents Defendant Adam Victor in the above-captioned defamation action
brought by Pro Se Plaintiff Tyler Erdman.

In ¶ 48 of his Amended Complaint (ECF No. 18), Mr. Erdman quotes directly from a
document that I recently learned is currently under seal in Khatskevich v. Victor, et al.,
Index No. 151658/2014 (Sup. Ct. N.Y. County). More specifically, the document in
question was placed under seal pursuant to a sealed order issued by Justice Shlomo S.
Hagler in that action on October 23, which was provided to me on October 30. By e-mail
earlier today, my junior colleague John Whelan asked Mr. Erdman if he would consent to
having that portion of his Amended Complaint placed under seal and replaced on the
docket with appropriate redactions. Mr. Erdman did not expressly confirm or deny his
consent, but rather insisted that since the document in question was public at the time
he filed his Amended Complaint, he was under no obligation to seal it.

Accordingly, I am making this letter motion on behalf of Mr. Victor to have the relevant
portion of Mr. Erdman’s Amended Complaint sealed and replaced on the docket with
appropriate redactions. I respectfully request leave to submit documents in support of
this motion, including the relevant sealing order and related materials that are also
under seal in the aforementioned action, for in camera review.

If the Court has any questions or concerns, I am available at the Court’s convenience.

Respectfully submitted,      Defendant Adam Victor shall file a sealing application in accordance with
                             Individual Rule I.D.3, which among other requirements, provides that papers
                             in support of the application to seal must be separately filed electronically
                             and may be filed under seal or redacted only to the extent necessary to
                             safeguard the information sought to be filed under seal. The Amended
Jeffrey M. Eilender          Complaint will be sealed pending adjudication of the application to seal.

Copies To:                   The Clerk of Court is respectfully directed to close Dkt. No. 23, and to limit
                             access to Dkt. No. 18 to the Court and attorneys' of record only.

                             Dated: November 4, 2020
                                    New York, New York
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Hon. Lorna G. Schofield
September 24, 2020
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Pro Se Plaintiff Tyler Erdman (by ECF)
David Wolf, Counsel for Manhattan Place Condominium (by ECF)
